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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
SEAN A. CLARK,

                                   Plaintiff,
                 -against-                                                 20 CIVIL 8000 (VSB)

                                                                             JUDGMENT
MARK SCHROEDER, NYS
COMMISSIONER OF DMV,

                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated November 5, 2020, Plaintiff’s complaint is hereby dismissed with

prejudice; accordingly, this case is closed.

Dated: New York, New York

          November 5, 2020


                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
